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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       CASE NO. 1:21-cr-00729-RBW
                    v.                       :
                                             :
BRENT JOHN HOLDRIDGE,                        :
                                             :
                         Defendant.          :


    UNITED STATES’ RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR
                      PAYMENT OF TRAVEL EXPENSES

        The United States respectfully opposes the defendant’s Motion for Payment of Travel

Expenses in connection with travel from his home in California to the District of Columbia for his

sentencing hearing on December 2, 2022 (ECF 61). The United States does not oppose the

defendant’s alternative request to convene his sentencing hearing by videoconference if the Court

is so inclined. 1

        Although this Court has discretion to direct the United States marshal to arrange for the

defendant’s one-way, noncustodial transportation to the District of Columbia for a required court

appearance (or to furnish the fare and subsistence expenses for such transportation), 18 U.S.C.

§ 4285; United States v. James, 762 F. Supp. 1, 2 (D.D.C. 1991), this Court should not do so under

the circumstances of this case.

        The defendant’s in-person sentencing hearing has been scheduled for approximately three

and a half months. (ECF 49, Order entered August 4, 2022). Through his Motion, the defendant

states that “he has been unable to save enough money to afford the car repairs necessary to make

the journey” to his sentencing hearing. (ECF 61 at 1). Given that the defendant chose to travel at



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 As set forth in its Sentencing Memorandum, however, the United States will be advocating for a
sentence of incarceration. (ECF 59).


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his own expense to participate in the riot of January 6, 2021, the United States submits that it

should not be required to pay for the defendant’s noncustodial travel to be sentenced for his

offense.

       Just last month, the Chief Judge of this Court denied a January 6 defendant’s motion for an

order directing the United States marshal to pay the defendant’s expenses to travel to the District

of Columbia for his sentencing hearing. United States v. Devin Rossman, No. 1:22-cr-280-BAH

(minute order, Oct. 14, 2022). In denying that motion, the Chief Judge reasoned as follows:

               Regarding defendant’s travel expenses, pursuant to 18 U.S.C.
               § 4285, funding may be dispensed when the defendant is
               “financially unable” to travel for his appearance on his own and
               “when the interests of justice would be served thereby.” Defendant
               was able to travel to Washington, D.C. to engage in the very offense
               conduct that is the subject of these proceedings. The interests of
               justice would not be served by the U.S. Government paying for
               defendant to make that same trip now that he is to be sentenced for
               that offense conduct.

Likewise in the present case, the interests of justice would not be served by requiring the

government to pay for the defendant’s noncustodial travel expenses, particularly where the

defendant has failed to detail any efforts during the past several months to arrange for his travel to

his sentencing hearing. See United States v. Forest, 597 F. Supp. 2d 163, 165-166 (D. Me. 2009)

(noting that § 4285 “places the onus” on defendant to demonstrate by “sworn statement” that he

“is so destitute” that he is financially unable to provide funds necessary for transportation to court,

and that defendant must overcome “an especially heavy burden” to establish inability to pay).

Moreover, the court in Forest noted that “be[ing] indigent for purposes of appointment of counsel

. . . is a different standard[, and that a] person might not be able to pay for her own lawyer, but at

the same time, be fully capable of finding gas money to appear at court.” Id. at 165. Although the

distance involved in Forest (within Maine) was much shorter than the distance between California




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and the District of Columbia, the defendant has not carried his burden of demonstrating why the

United States should bear the costs of his travel.

                                                         Respectfully submitted,

                                                         MATTHEW M. GRAVES
                                                         UNITED STATES ATTORNEY
                                                         D.C. Bar No.481052


                                                                 /s/ Joseph DeGaetano
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                                 CERTIFICATE OF SERVICE
       On November 18, 2022, a copy of the foregoing was served on counsel of record for the
defendant via the Court’s Electronic Filing System.
                                                         /s/ Joseph DeGaetano
                                                         Joseph G. DeGaetano
                                                         Assistant United States Attorney




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